

People v Stevenson (2021 NY Slip Op 05876)





People v Stevenson


2021 NY Slip Op 05876


Decided on October 27, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 27, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
LEONARD B. AUSTIN
ROBERT J. MILLER
FRANCESCA E. CONNOLLY, JJ.


2013-06438
 (Ind. No. 945/11)

[*1]The People of the State of New York, respondent,
vFrank R. Stevenson, appellant.


Frank R. Stevenson, Ossining, NY, appellant pro se.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove, Jordan Cerruti, and Ruth E. Ross of counsel), for respondent.
Patricia Pazner, New York, NY (David P. Greenberg of counsel), former appellate counsel.
Application by the appellant for a writ of error coram nobis to vacate, on the ground



DECISION &amp; ORDER
of ineffective assistance of appellate counsel, a decision and order of this Court dated June 17, 2015 (People v Stevenson, 129 AD3d 998), affirming a judgment of the Supreme Court, Kings County, rendered May 28, 2013.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
CHAMBERS, J.P., AUSTIN, MILLER and CONNOLLY, JJ., concur.
ENTER:
Maria T. Fasulo
Acting Clerk of the Court








